Case 3:21-cv-00289-JLS-BLM Document 1 Filed 02/17/21 PageID.1 Page 1 of 20



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Case 3:21-cv-00289-JLS-BLM Document 1 Filed 02/17/21 PageID.5 Page 5 of 20



 1           16. Defendant Kevin J. O'Hara has been a member of the Board since
 2   2010.
 3           17. Defendant Mattia Caprioli has been a member of the Board since 2013.
 4           18. Defendant Ditlef de Vibe has been a member of the Board since 2011.
 5           19. Defendant Kevin Mulloy has been a member of the Board since 2012.
 6           20. Defendant Keith Olsen has been a member of the Board since 2010.
 7           21. Defendant Brent K. Whittington has been a member of the Board since
 8   2010.
 9           22. The Defendants referred to in paragraphs 13-21 are collectively referred
10   to herein as the "Individual Defendants" and/or the "Board."
11           23 . The Defendants referred to in paragraphs 11-21 are collectively referred
12   to herein as the "Defendants."
13                           SUBSTANTIVE ALLEGATIONS
14   The Proposed Transaction
15           24. On December 21 , 2020, Viasat and RigNet jointly announced that they
16   had entered into the Agreement and Plan of Merger (the "Merger Agreement"):
17
             CARLSBAD, Calif., Dec. 21 , 2020 /PRNewswire/ -- Viasat Inc.
18           (NASDAQ: VSAT), a global communications company, today
19           announced it entered into a definitive agreement to acquire RigNet,
             Inc. (NASDAQ: RNET), a leading provider of ultra-secure, intelligent
20           networking solutions and specialized applications, in an all-stock
21           transaction that values RigNet at an enterprise value of approximately
             $222 million based on Viasat's share price as of the date of the
22
             agreement and RigNet's net debt at September 30, 2020.
23
             The acquisition will help to further accelerate Viasat's strategy to
24
             provide high-quality, ubiquitous, affordable broadband connectivity
25           and communications to the hardest-to-reach locations around the
26
             globe. RigNet provides premier, global end-to-end, secure managed
             communications service and installation capabilities, along with
27           digital transformation solutions, which will enable Viasat to quickly
28



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Case 3:21-cv-00289-JLS-BLM Document 1 Filed 02/17/21 PageID.6 Page 6 of 20



 1
          expand into new adjacent industries, including: energy, shipping,
          maritime, mining and additional enterprises.
 2
 3
          Rick Baldridge, Viasat's president and CEO commented, "With the
          acquisition of RigNet, we are accelerating the diversification of our
 4        connectivity portfolio and establishing a global foundation for
 5        expansion of our remote enterprise service offerings. RigNet's
          successful track record, global footprint, deep customer relationships
 6
          and emerging technology expertise in areas like machine learning and
 7        artificial intelligence (AI) make this transaction an ideal fit as we
          launch our integrated global broadband platform. The transaction is
 8
          accretive to cashflow, and is expected to improve our leverage
 9        position as well as offer multiple opportunities for expansion and
10        performance upside beyond RigNet's robust energy services business.
          We're looking forward to welcoming the RigNet team to the Viasat
11
          family post-closing."
12
          "There is a powerful alignment between RigNet and Viasat given our
13
          shared mission to provide fast, reliable coverage, anywhere customers
14        require it," said Steven Pickett, president and CEO, RigNet. "We have
          broad experience integrating broadband connectivity and networking
15
          capabilities in the most challenging environments-gained from our
16        global deployment of more than 1,200 onshore and offshore sites and
17        11,000 Industrial Internet of Things (IIoT) sites. This combination
          also represents an outstanding opportunity for us to accelerate both the
18        investment in and the adoption of our digital transformation solutions
19        more rapidly outside of our core oil & gas vertical. Our customers are
          demanding more enhanced communications solutions, and joining
20
          forces with Viasat-a recognized leader in satellite broadband
21        connectivity-will enable us to serve them better."
22
          Industry expansion opportunities
23
          Acquiring RigNet will give Viasat direct access to over 650 customers
24
          and expand and diversify Viasat's commercial connectivity portfolio,
25        providing Viasat an opportunity to more quickly enter adjacent
26        industries. For example, by combining the strong gains in bandwidth
          efficiencies expected from the impending ViaSat-3 constellation and
27        RigNet's portfolio of services, Viasat will become a leading vertically-
28



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Case 3:21-cv-00289-JLS-BLM Document 1 Filed 02/17/21 PageID.7 Page 7 of 20



 1
          integrated energy communications provider with deep domain and
          customer expertise.
 2
 3
          Complementary digital transformation toolset

 4        Acquiring RigNet will give Viasat access to complementary core
 5        technology and services, including RigNet's digital transformation
          toolset, which includes its end-to-end managed communications and
 6        connectivity service capabilities, like SD-WAN; the Cyphre™
 7        cybersecurity product-line; its large-scale applications and IloT
          offering; and the Intelie Live™ real-time machine learning and AI
 8
          analytics platform. Viasat expects to leverage and combine RigNet's
 9        digital transformation solutions, global enterprise experience, support
10
          infrastructure and back office systems to expand into new global
          services.
11

12        Global alignment

13        With over 650 employees, RigNet has a strong global support
14        infrastructure and operations foundation with more than 50% of its
          employees overseas. RigNet's international presence aligns with
15        Viasat's expanding global operations, enabling Viasat to find
16        additional value and business complements for its ViaSat-3
          globalization efforts.
17

18        Viasat intends to incorporate RigNet into its Global Enterprise and
          Mobility business unit, led by President Jimmy Dodd, which will
19
          provide further complementary capabilities and support synergies to
20        Viasat's existing mobility businesses. The RigNet team operates from
21        its headquarters in Houston, Texas; management is expected to stay
          on to provide leadership, in-depth industry knowledge and customer
22        relationship support.
23
          Transaction details
24

25        Under the terms of the agreement, RigNet stockholders will receive
          0.1845 shares of Viasat common stock for each share of RigNet
26        common stock, which represents a 17.9% premium based on the 20-
27        day volume-weighted average prices of Viasat and RigNet. The
          transaction represents an enterprise value for RigNet of approximately
28



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Case 3:21-cv-00289-JLS-BLM Document 1 Filed 02/17/21 PageID.8 Page 8 of 20



 1
            $222 million, cons1stmg of approximately $130 million in RigNet
            equity value, based on the closing price of Viasat common stock as of
 2          the date of the agreement and the assumption of approximately $92
 3          million in RigNet debt, net of cash, at September 30, 2020. The
            transaction is expected to close by mid-calendar year 2021, subject to
 4
            the satisfaction of regulatory approvals and other customary closing
 5          conditions.
 6
            Viasat has also entered into a support agreement with certain
 7          stockholders of RigNet, under which such stockholders have agreed to
            vote all of their RigNet shares in favor of the transaction at the special
 8
            meeting of RigNet stockholders to be held in connection with the
 9          transaction, subject to certain terms and conditions. The RigNet shares
10          subject to the agreement represent approximately 25% of the current
            outstanding voting power of the RigNet common stock.
11

12          Advisors
13          LionTree Advisors LLC and Latham & Watkins LLP acted as Viasat's
14          fmancial and legal advisors, respectively. RigNet's financial and legal
            advisors in the transaction are Lazard Middle Market LLC and Baker
15
            Botts LLP, respectively.
16

17                                            ***
18
     The Materially Misleading and Incomplete Solicitation Statement
19
           25.    On February 1, 2021, Defendants caused the Registration Statement to
20
     be filed with the SEC in connection with the Proposed Transaction.                  The
21
     Registration Statement solicits the Company's shareholders to vote in favor of the
22
     Proposed Transaction.      Defendants were obligated to carefully review the
23
     Registration Statement before it was filed with the SEC and disseminated to the
24
     Company's shareholders to ensure that it did not contain any material
25
     misrepresentations   or   om1ss10ns.      However,     the   Registration    Statement
26
     misrepresents and/or omits material information that is necessary for the
27
     Company's shareholders to make an informed decision concerning whether to vote
28



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Case 3:21-cv-00289-JLS-BLM Document 1 Filed 02/17/21 PageID.9 Page 9 of 20



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  PDWHULDOLQIRUPDWLRQFRQFHUQLQJWKHVH&RPSDQ\3URMHFWLRQVZKLFKZHUHGHYHORSHG
  E\WKH&RPSDQ\¶VPDQDJHPHQWDQGUHOLHGXSRQE\WKH%RDUGLQUHFRPPHQGLQJWKDW
  WKH VKDUHKROGHUV YRWH LQ IDYRU RI WKH 3URSRVHG 7UDQVDFWLRQ 7KHVH ILQDQFLDO
  IRUHFDVWVZHUHDOVRUHOLHGXSRQE\6WLIHOLQUHQGHULQJLWVIDLUQHVVRSLQLRQ
             )LUVW WKH 5HJLVWUDWLRQ 6WDWHPHQW FRPSOHWHO\ IDLOV WR GLVFORVH DQ\
 SURVSHFWLYHILQDQFLDOLQIRUPDWLRQIRU9LDVDW7KLVLQIRUPDWLRQLVPDWHULDODV5LJ1HW
 VKDUHKROGHUV ZLOO RZQ  RI WKH FRPELQHG FRPSDQ\ ZKHQ WKH 3URSRVHG
 7UDQVDFWLRQ LV FRQVXPPDWHG DQG 6WLIHO UHYLHZHG DQG UHOLHG RQ WKH 9LDVDW
 SURMHFWLRQVWRUHQGHULWVIDLUQHVVRSLQLRQDQGSHUIRUPLQJWKHILQDQFLDODQDO\VHVSee
 5HJLVWUDWLRQ6WDWHPHQWDW
             :LWKUHVSHFWWRWKH&RPSDQ\3URMHFWLRQVWKH5HJLVWUDWLRQ6WDWHPHQW
 IDLOV WR SURYLGH L  WKH YDOXH RI FHUWDLQ OLQH LWHPV XVHG WR FDOFXODWH D  $GMXVWHG
 (%,7'$ DQG E  8QOHYHUHG )UHH &DVK )ORZ ERWK RI ZKLFK DUH QRQ*$$3
 PHDVXUHVDQG LL DUHFRQFLOLDWLRQWRLWVPRVWFRPSDUDEOH*$$3PHDVXUHVLQGLUHFW
 YLRODWLRQRI5HJXODWLRQ*DQGFRQVHTXHQWO\6HFWLRQ D 
             7KH 6(& KDV LQGLFDWHG WKDW LI WKH PRVW GLUHFWO\ FRPSDUDEOH *$$3
 PHDVXUH LV QRW DFFHVVLEOH RQ D IRUZDUGORRNLQJ EDVLV WKH FRPSDQ\ PXVW GLVFORVH
 WKDWIDFWSURYLGHDQ\UHFRQFLOLQJLQIRUPDWLRQWKDWLVDYDLODEOHZLWKRXWXQUHDVRQDEOH
 HIIRUW LGHQWLI\ DQ\XQDYDLODEOH LQIRUPDWLRQ DQG GLVFORVH WKH SUREDEOH VLJQLILFDQFH
 RI WKDW LQIRUPDWLRQ $ FRPSDQ\ LV SHUPLWWHG WR SURYLGH WKH SURMHFWHG QRQ*$$3
 PHDVXUHRPLWWKHTXDQWLWDWLYHUHFRQFLOLDWLRQDQGTXDOLWDWLYHO\H[SODLQWKHW\SHVRI
 JDLQV ORVVHV UHYHQXHV RU H[SHQVHV WKDW ZRXOG QHHG WR EH DGGHG WR RU VXEWUDFWHG
 IURP WKH QRQ*$$3 PHDVXUH WR DUULYH DW WKH PRVW GLUHFWO\ FRPSDUDEOH *$$3


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Case 3:21-cv-00289-JLS-BLM Document 1 Filed 02/17/21 PageID.10 Page 10 of 20



   PHDVXUHZLWKRXWDWWHPSWLQJWRTXDQWLI\DOOWKRVHLWHPV
              :KHQ D FRPSDQ\ GLVFORVHV QRQ*$$3 ILQDQFLDO PHDVXUHV LQ D
   UHJLVWUDWLRQVWDWHPHQWWKDWZHUHUHOLHGRQE\DERDUGRIGLUHFWRUVWRUHFRPPHQGWKDW
   VKDUHKROGHUV H[HUFLVH WKHLU FRUSRUDWH VXIIUDJH ULJKWV LQ D SDUWLFXODU PDQQHU WKH
   FRPSDQ\PXVWSXUVXDQWWR6(&UHJXODWRU\PDQGDWHVDOVRGLVFORVHDOOIRUHFDVWVDQG
   LQIRUPDWLRQQHFHVVDU\WRPDNHWKHQRQ*$$3PHDVXUHVQRWPLVOHDGLQJDQGPXVW
   SURYLGHDUHFRQFLOLDWLRQ E\VFKHGXOHRURWKHUFOHDUO\XQGHUVWDQGDEOHPHWKRG RIWKH
   GLIIHUHQFHVEHWZHHQWKHQRQ*$$3ILQDQFLDOPHDVXUHGLVFORVHGRUUHOHDVHGZLWKWKH
   PRVW FRPSDUDEOH ILQDQFLDO PHDVXUH RU PHDVXUHV FDOFXODWHG DQG SUHVHQWHG LQ
  DFFRUGDQFHZLWK*$$3&)5
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  ILQDQFLDO PHDVXUHV LQ FRPPXQLFDWLRQV ZLWK VKDUHKROGHUV  )RUPHU 6(&
  &KDLUZRPDQ 0DU\ -R :KLWH KDV VWDWHG WKDW WKH IUHTXHQW XVH E\ SXEOLFO\ WUDGHG
  FRPSDQLHV RI XQLTXH FRPSDQ\VSHFLILF QRQ*$$3 ILQDQFLDO PHDVXUHV LPSOLFDWHV
  WKHFHQWHUSLHFHRIWKH6(&¶VGLVFORVXUHVUHJLPH
          ,Q WRR PDQ\ FDVHV WKH QRQ*$$3 LQIRUPDWLRQ ZKLFK LV PHDQW WR
          VXSSOHPHQW WKH *$$3 LQIRUPDWLRQ KDV EHFRPH WKH NH\ PHVVDJH WR
             LQYHVWRUV FURZGLQJ RXW DQG HIIHFWLYHO\ VXSSODQWLQJ WKH *$$3
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             SUHVHQWDWLRQ  -LP 6FKQXUU RXU &KLHI $FFRXQWDQW 0DUN .URQIRUVW
          RXU &KLHI $FFRXQWDQW LQ WKH 'LYLVLRQ RI &RUSRUDWLRQ )LQDQFH DQG ,
          DORQJ ZLWK RWKHU PHPEHUV RI WKH VWDII KDYH VSRNHQ RXW IUHTXHQWO\
             DERXWRXUFRQFHUQVWRUDLVHWKHDZDUHQHVVRIERDUGVPDQDJHPHQWDQG
          LQYHVWRUV  $QG ODVW PRQWK WKH VWDII LVVXHG JXLGDQFH DGGUHVVLQJ D
          QXPEHU RI WURXEOHVRPH SUDFWLFHV which can make non-GAAP
             disclosures misleading WKH ODFN RI HTXDO RU JUHDWHU SURPLQHQFH IRU
 
             *$$3 PHDVXUHV H[FOXVLRQ RI QRUPDO UHFXUULQJ FDVK RSHUDWLQJ
          H[SHQVHV LQGLYLGXDOO\ WDLORUHG QRQ*$$3 UHYHQXHV ODFN RI
          FRQVLVWHQF\ FKHUU\SLFNLQJ DQG WKH XVH RI FDVK SHU VKDUH GDWD  ,
             VWURQJO\ XUJH FRPSDQLHV WR FDUHIXOO\ FRQVLGHU WKLV JXLGDQFH DQG
          UHYLVLWWKHLUDSSURDFKWRQRQ*$$3GLVFORVXUHV,DOVRXUJHDJDLQDV
          ,GLGODVW'HFHPEHUWKDWDSSURSULDWHFRQWUROVEHFRQVLGHUHGDQGWKDW
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Case 3:21-cv-00289-JLS-BLM Document 1 Filed 02/17/21 PageID.11 Page 11 of 20



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                    DXGLWFRPPLWWHHVFDUHIXOO\RYHUVHHWKHLUFRPSDQ\¶VXVHRIQRQ*$$3
                    PHDVXUHVDQGGLVFORVXUHV
  
                              7KH 6(& KDV UHSHDWHGO\ HPSKDVL]HG WKDW GLVFORVXUH RI QRQ*$$3
  
       IRUHFDVWVFDQEHLQKHUHQWO\PLVOHDGLQJDQGKDVWKHUHIRUHKHLJKWHQHGLWVVFUXWLQ\RI
  
       WKH XVH RI VXFK IRUHFDVWV  ,QGHHG WKH 6(&¶V 'LYLVLRQ RI &RUSRUDWLRQ )LQDQFH
  
       UHOHDVHGDQHZDQGXSGDWHG&RPSOLDQFHDQG'LVFORVXUH,QWHUSUHWDWLRQ ³& ',´ RQ
  
       WKH XVH RI QRQ*$$3 ILQDQFLDO PHDVXUHV WR FODULI\ WKH H[WUHPHO\ QDUURZ DQG
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       OLPLWHG FLUFXPVWDQFHV NQRZQ DV WKH EXVLQHVV FRPELQDWLRQ H[HPSWLRQ ZKHUH
  
       5HJXODWLRQ*ZRXOGQRWDSSO\
  
                              0RUHLPSRUWDQWO\WKH& ',FODULILHVZKHQWKHEXVLQHVVFRPELQDWLRQ
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       H[HPSWLRQGRHVQRWDSSO\
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                    7KHUH LV DQ H[HPSWLRQ IURP 5HJXODWLRQ * DQG ,WHP  H  RI
 
                    5HJXODWLRQ 6. IRU QRQ*$$3 ILQDQFLDO PHDVXUHV GLVFORVHG LQ
                 FRPPXQLFDWLRQVVXEMHFWWR6HFXULWLHV$FW5XOHDQG([FKDQJH$FW
                 5XOHV D DQG G E   LW LV DOVR LQWHQGHG WR DSSO\ WR
                    FRPPXQLFDWLRQV VXEMHFW WR ([FKDQJH $FW 5XOH G D   7KLV
 
       
    
             0DU\ -R :KLWH Keynote Address, International Corporate Governance
    Network Annual Conference: Focusing the Lens of Disclosure to Set the Path
    Forward on Board Diversity, Non-GAAP, and Sustainability -XQH   
       KWWSVZZZVHFJRYQHZVVSHHFKFKDLUZKLWHLFJQVSHHFKKWPO ODVW YLVLWHG )HE
      HPSKDVLVDGGHG 
       
          See, e.g1LFRODV*UDEDUDQG6DQGUD)ORZNon-GAAP Financial Measures:
       The SEC’s Evolving Views +$59$5' /$: 6&+22/ )2580 21 &25325$7(
 
       *29(51$1&( -XQH    KWWSVFRUSJRYODZKDUYDUGHGXQRQ
    JDDSILQDQFLDOPHDVXUHVWKHVHFVHYROYLQJYLHZV ODVW YLVLWHG )HE   
 
       *UHWFKHQ 0RUJHQVRQ Fantasy Math Is Helping Companies Spin Losses Into
       Profits           7+(     1(:        <25.         7,0(6        $SU         
    KWWSZZZQ\WLPHVFRPEXVLQHVVIDQWDV\PDWKLVKHOSLQJFRPSDQLHV
    VSLQORVVHVLQWRSURILWVKWPO"BU  ODVWYLVLWHG)HE 
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             Non-GAAP Financial Measures 86 6(&85,7,(6 $1' (;&+$1*(
    &200,66,21                           $SU                                          
    KWWSVZZZVHFJRYGLYLVLRQVFRUSILQJXLGDQFHQRQJDDSLQWHUSKWP                     ODVW
       YLVLWHG )HE    7R EH VXUH WKHUH DUH RWKHU VLWXDWLRQV ZKHUH 5HJXODWLRQ *
 
       ZRXOGQRWDSSO\EXWDUHQRWDSSOLFDEOHKHUH

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Case 3:21-cv-00289-JLS-BLM Document 1 Filed 02/17/21 PageID.12 Page 12 of 20



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             H[HPSWLRQ GRHV QRW H[WHQG EH\RQG VXFK FRPPXQLFDWLRQV
             &RQVHTXHQWO\ LI WKH VDPH QRQ*$$3 ILQDQFLDO PHDVXUH WKDW ZDV
           LQFOXGHG LQ D FRPPXQLFDWLRQ ILOHG XQGHU RQH RI WKRVH UXOHV LV DOVR
           GLVFORVHG LQ D 6HFXULWLHV $FW UHJLVWUDWLRQ VWDWHPHQW SUR[\ VWDWHPHQW
             RUWHQGHURIIHUVWDWHPHQWWKLVH[HPSWLRQIURP5HJXODWLRQ*DQG,WHP
  
              H  RI 5HJXODWLRQ 6. ZRXOG QRW EH DYDLODEOH IRU WKDW QRQ*$$3
           ILQDQFLDOPHDVXUH
   Id.
              7KXV WKH & ', PDNHV FOHDU WKDW WKH VRFDOOHG ³EXVLQHVV
   FRPELQDWLRQ´H[HPSWLRQIURPWKH5HJXODWLRQ*QRQ*$$3WR*$$3UHFRQFLOLDWLRQ
   UHTXLUHPHQW DSSOLHV VROHO\ WR WKH H[WHQW WKDW D WKLUGSDUW\ VXFK DV D ILQDQFLDO
  DGYLVRUKDVXWLOL]HGSURMHFWHGQRQ*$$3ILQDQFLDOPHDVXUHVWRUHQGHUDUHSRUWRU
  RSLQLRQWRWKH%RDUG7RWKHH[WHQWWKH%RDUGDOVRH[DPLQHGDQGUHOLHGRQLQWHUQDO
  ILQDQFLDOIRUHFDVWVWRUHFRPPHQGDWUDQVDFWLRQ5HJXODWLRQ*DSSOLHV
            7KXV WR EULQJ WKH 5HJLVWUDWLRQ 6WDWHPHQW LQWR FRPSOLDQFH ZLWK
  5HJXODWLRQ*DVZHOODVFXUHWKHPDWHULDOO\PLVOHDGLQJQDWXUHRIWKHIRUHFDVWVXQGHU
  6(&5XOHDDVDUHVXOWRIWKHRPLWWHGLQIRUPDWLRQ'HIHQGDQWVPXVWSURYLGHD
  UHFRQFLOLDWLRQ WDEOH RI WKH QRQ*$$3 PHDVXUHV WR WKH PRVW FRPSDUDEOH *$$3
  PHDVXUHV
  Financial Analyses
            :LWK UHVSHFW WR 6WLIHO¶V Public Trading Comparables Analysis for
  RigNet WKH 5HJLVWUDWLRQ 6WDWHPHQW IDLOV WR GLVFORVH WKH LQGLYLGXDO PXOWLSOHV DQG
  PHWULFVIRUHDFKFRPSDQ\REVHUYHGE\6WLIHOLQWKHDQDO\VLV
            :LWKUHVSHFWWR6WLIHO¶V Selected Precedent Transactions Analysis for
  RigNet WKH 5HJLVWUDWLRQ 6WDWHPHQW IDLOV WR GLVFORVH WKH LQGLYLGXDO PXOWLSOHV DQG
  PHWULFV IRU HDFK WUDQVDFWLRQ REVHUYHG E\ 6WLIHO LQ WKH DQDO\VLV LQFOXGLQJ FORVLQJ
  GDWH WKH DPRXQWV SDLG IRU HDFK WDUJHW FRPSDQ\ DQG WKH PXOWLSOHV RI (9 WR /70
  UHYHQXHDQG/70(%,7'$IRUHDFKWUDQVDFWLRQ
            :LWK UHVSHFW WR 6WLIHO¶V Discounted Cash Flow Analysis for RigNet
  WKH5HJLVWUDWLRQ6WDWHPHQWIDLOVWRGLVFORVH L WKH EDVLVIRUDSSO\LQJWKHUDQJHRI


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Case 3:21-cv-00289-JLS-BLM Document 1 Filed 02/17/21 PageID.13 Page 13 of 20



   H[LW PXOWLSOHV IURP [ WR [ LL  WKH EDVLV IRU DSSO\LQJ D UDQJH RI SHUSHWXLW\
   JURZWK SHUFHQWDJHV IURP  WR  DQG LLL  WKH EDVLV LQSXWV DQG
   DVVXPSWLRQVIRUDSSO\LQJGLVFRXQWUDWHVUDQJLQJIURPWR
              :LWK UHVSHFW WR 6WLIHO¶V Selected Comparable Company Analysis for
   Viasat WKH 5HJLVWUDWLRQ 6WDWHPHQW IDLOV WR GLVFORVH WKH LQGLYLGXDO PXOWLSOHV DQG
   PHWULFVIRUHDFKFRPSDQ\REVHUYHGE\6WLIHOLQWKHDQDO\VLV
              :LWKUHVSHFWWR6WLIHO¶V Discounted Cash Flow Analysis for ViasatWKH
   5HJLVWUDWLRQ6WDWHPHQWIDLOVWRGLVFORVH L WKHEDVLVIRUDSSO\LQJWKHUDQJHRIH[LW
   PXOWLSOHV IURP [ WR [ DQG [ WR [ IRU 9LDVDW¶V 6DWHOOLWH
  6HUYLFHV&RPPHUFLDOVHJPHQWDQG*RYHUQPHQWVHJPHQWUHVSHFWLYHO\ LL WKHEDVLV
  IRU DSSO\LQJ D UDQJH RI SHUSHWXLW\ JURZWK SHUFHQWDJHV IURP  WR  DQG
    LLL  WKH EDVLV LQSXWV DQG DVVXPSWLRQV IRU DSSO\LQJ GLVFRXQW UDWHV UDQJLQJ IURP
  WR
             :LWK UHVSHFW WR 6WLIHO¶V Pro Forma Combined Company Discounted
  Cash Flow Analysis WKH 5HJLVWUDWLRQ 6WDWHPHQW IDLOV WR GLVFORVH L  WKH SUHVHQW
  YDOXH RI XQOHYHUHG IUHH FDVK IORZV IRU WKH SUR IRUPD FRPELQHG FRPSDQ\ IRU
  SURMHFWHGFDOHQGDU\HDUVWKURXJK LL WKHEDVLVLQSXWVDQGDVVXPSWLRQV
  IRUDSSO\LQJGLVFRXQWUDWHVUDQJLQJIURPWR LLL WKHUDQJHRILOOXVWUDWLYH
  WHUPLQDO YDOXHV DW WKH HQG RI  LY  WKH EDVLV IRU DSSO\LQJ PXOWLSOHV UDQJLQJ
  IURP [ WR [ Y  WKH EDVLV IRU DSSO\LQJ D UDQJH RI SHUSHWXLW\ JURZWK
  SHUFHQWDJHVIURPWR YL WKHSURIRUPDFRPELQHGQHWGHEWQHWGHEWIRU
  9LDVDWDQGQHWGHEWIRU5LJ1HWDQG YLL WKHSURIRUPDIXOO\GLOXWHGVKDUHFRXQWRI
  WKHFRPELQHGFRPSDQ\
             ,Q VXP WKH 5HJLVWUDWLRQ 6WDWHPHQW LQGHSHQGHQWO\ YLRODWHV ERWK L 
  5HJXODWLRQ * ZKLFK UHTXLUHV D SUHVHQWDWLRQ DQG UHFRQFLOLDWLRQ RI DQ\ QRQ*$$3
  ILQDQFLDOPHDVXUHWRWKHLUPRVWGLUHFWO\FRPSDUDEOH*$$3HTXLYDOHQWDQG LL 5XOH
  DVLQFHWKHPDWHULDORPLWWHGLQIRUPDWLRQUHQGHUVFHUWDLQVWDWHPHQWVGLVFXVVHG
  DERYH PDWHULDOO\ LQFRPSOHWH DQG PLVOHDGLQJ  $V WKH 5HJLVWUDWLRQ 6WDWHPHQW


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Case 3:21-cv-00289-JLS-BLM Document 1 Filed 02/17/21 PageID.14 Page 14 of 20



   LQGHSHQGHQWO\ FRQWUDYHQHV WKH 6(& UXOHV DQG UHJXODWLRQV 'HIHQGDQWV YLRODWHG
   6HFWLRQ  D  DQG 6HFWLRQ  D  RI WKH ([FKDQJH $FW E\ ILOLQJ WKH 5HJLVWUDWLRQ
   6WDWHPHQW WR JDUQHU YRWHV LQ VXSSRUW RI WKH 3URSRVHG 7UDQVDFWLRQ IURP 5LJ1HW
   VKDUHKROGHUV
              $EVHQW GLVFORVXUH RI WKH IRUHJRLQJ PDWHULDO LQIRUPDWLRQ SULRU WR WKH
   VSHFLDOVKDUHKROGHUPHHWLQJWRYRWHRQWKH3URSRVHG7UDQVDFWLRQ3ODLQWLIIZLOOQRW
   EHDEOHWRPDNHDIXOO\LQIRUPHGGHFLVLRQUHJDUGLQJZKHWKHUWRYRWHLQIDYRURIWKH
   3URSRVHG7UDQVDFWLRQDQGVKHLVWKXVWKUHDWHQHGZLWKLUUHSDUDEOHKDUPZDUUDQWLQJ
   WKHLQMXQFWLYHUHOLHIVRXJKWKHUHLQ
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  SHUVRQ E\ WKH XVH RI WKH PDLOV RU E\ DQ\ PHDQV RU LQVWUXPHQWDOLW\ RI LQWHUVWDWH
  FRPPHUFH RU RI DQ\ IDFLOLW\ RI D QDWLRQDO VHFXULWLHV H[FKDQJH RU RWKHUZLVH LQ
  FRQWUDYHQWLRQ RI VXFK UXOHV DQG UHJXODWLRQV DV WKH &RPPLVVLRQ PD\ SUHVFULEH DV
  QHFHVVDU\RUDSSURSULDWHLQWKHSXEOLFLQWHUHVWRUIRUWKHSURWHFWLRQRILQYHVWRUVWR
  VROLFLW RU WR SHUPLW WKH XVH RI KLV QDPH WR VROLFLW DQ\ 5HJLVWUDWLRQ 6WDWHPHQW RU
  FRQVHQWRUDXWKRUL]DWLRQLQUHVSHFWRIDQ\VHFXULW\ RWKHUWKDQDQH[HPSWHGVHFXULW\ 
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  FKRRVHV WR GLVFORVH D QRQ*$$3 PHDVXUH WR SURYLGH D SUHVHQWDWLRQ RI WKH ³PRVW
  GLUHFWO\ FRPSDUDEOH´ *$$3 PHDVXUH DQG D UHFRQFLOLDWLRQ ³E\ VFKHGXOH RU RWKHU
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  OLJKW RI WKH FLUFXPVWDQFHV XQGHU ZKLFK LW LV PDGH LV IDOVH RU PLVOHDGLQJ ZLWK
  UHVSHFWWRDQ\PDWHULDOIDFWRUZKLFKRPLWVWRVWDWHDQ\PDWHULDOIDFWQHFHVVDU\LQ
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  PDWHULDO IDFW RU RPLWV WR VWDWH D PDWHULDO IDFW QHFHVVDU\ LQ RUGHU WR PDNH WKH
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   ,QGLYLGXDO 'HIHQGDQWV E\ YLUWXH RI WKHLU UROHV DV RIILFHUV DQGRU GLUHFWRUV ZHUH
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   WKH\KDGUHDVRQDEOHJURXQGVWREHOLHYHPDWHULDOIDFWVH[LVWHGWKDWZHUHPLVVWDWHGRU
   RPLWWHG IURP WKH 5HJLVWUDWLRQ 6WDWHPHQW EXW QRQHWKHOHVV IDLOHG WR REWDLQ DQG
   GLVFORVHVXFKLQIRUPDWLRQWRVKDUHKROGHUVDOWKRXJKWKH\FRXOGKDYHGRQHVRZLWKRXW
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   WKDW WKH 5HJLVWUDWLRQ 6WDWHPHQW LV PDWHULDOO\ PLVOHDGLQJ DQG RPLWV PDWHULDO IDFWV
  WKDW DUH QHFHVVDU\ WR UHQGHU LW QRW PLVOHDGLQJ 7KH ,QGLYLGXDO 'HIHQGDQWV
  XQGRXEWHGO\UHYLHZHGDQGUHOLHGXSRQWKHRPLWWHGLQIRUPDWLRQLGHQWLILHGDERYHLQ
  FRQQHFWLRQ ZLWK WKHLU GHFLVLRQ WR DSSURYH DQG UHFRPPHQG WKH 3URSRVHG
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  WKDW WKH PDWHULDO LQIRUPDWLRQ LGHQWLILHG DERYH KDV EHHQ RPLWWHG IURP WKH
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  PLVOHDGLQJ VWDWHPHQWV RU RPLWWLQJ D PDWHULDO IDFW FRQVWLWXWHV QHJOLJHQFH 7KH
  ,QGLYLGXDO 'HIHQGDQWV ZHUH QHJOLJHQW LQ FKRRVLQJ WR RPLW PDWHULDO LQIRUPDWLRQ
  IURP WKH 5HJLVWUDWLRQ 6WDWHPHQW RU IDLOLQJ WR QRWLFH WKH PDWHULDO RPLVVLRQV LQ WKH
  5HJLVWUDWLRQ6WDWHPHQWXSRQUHYLHZLQJLWZKLFKWKH\ZHUHUHTXLUHGWRGRFDUHIXOO\
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  LQYROYHGLQWKHSURFHVVOHDGLQJXSWRWKHVLJQLQJRIWKH0HUJHU$JUHHPHQWDQGWKH
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   'HIHQGDQWV¶QHJOLJHQFHLQSUHSDULQJDQGUHYLHZLQJWKH5HJLVWUDWLRQ6WDWHPHQW
             7KH PLVUHSUHVHQWDWLRQV DQG RPLVVLRQV LQ WKH 5HJLVWUDWLRQ 6WDWHPHQW
   DUHPDWHULDOWR3ODLQWLIIZKRZLOOEHGHSULYHGRIKHUULJKWWRFDVWDQLQIRUPHGYRWH
   LIVXFKPLVUHSUHVHQWDWLRQVDQGRPLVVLRQVDUHQRWFRUUHFWHGSULRUWRWKHYRWHRQWKH
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   WKLV &RXUW¶V HTXLWDEOH SRZHUV FDQ 3ODLQWLII EH IXOO\ SURWHFWHG IURP WKH LPPHGLDWH
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  YLUWXHRIWKHLUSRVLWLRQVDVRIILFHUVDQGRUGLUHFWRUVRI5LJ1HWDQGSDUWLFLSDWLRQLQ
  DQGRU DZDUHQHVV RI WKH &RPSDQ\¶V RSHUDWLRQV DQGRU LQWLPDWH NQRZOHGJH RI WKH
  LQFRPSOHWHDQGPLVOHDGLQJVWDWHPHQWVFRQWDLQHGLQWKH5HJLVWUDWLRQ6WDWHPHQWILOHG
  ZLWK WKH 6(& WKH\ KDG WKH SRZHU WR LQIOXHQFH DQG FRQWURO DQG GLG LQIOXHQFH DQG
  FRQWURO GLUHFWO\ RU LQGLUHFWO\ WKH GHFLVLRQ PDNLQJ RI WKH &RPSDQ\ LQFOXGLQJ WKH
  FRQWHQW DQG GLVVHPLQDWLRQ RI WKH YDULRXV VWDWHPHQWV WKDW 3ODLQWLII FRQWHQGV DUH
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  DQGKDGWKHDELOLW\WRSUHYHQWWKHLVVXDQFHRIWKHVWDWHPHQWVRUFDXVHWKHVWDWHPHQWV
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   VXSHUYLVRU\ LQYROYHPHQW LQ WKH GD\WRGD\ RSHUDWLRQV RI WKH &RPSDQ\ DQG
   WKHUHIRUHLVSUHVXPHGWRKDYHKDGWKHSRZHUWRFRQWURORULQIOXHQFHWKHSDUWLFXODU
   WUDQVDFWLRQVJLYLQJULVHWRWKH([FKDQJH$FWYLRODWLRQVDOOHJHGKHUHLQDQGH[HUFLVHG
   WKH VDPH  7KH 5HJLVWUDWLRQ 6WDWHPHQW DW LVVXH FRQWDLQV WKH XQDQLPRXV
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   FRXQVHO DJHQWV HPSOR\HHV DQG DOO SHUVRQV DFWLQJ XQGHU LQ FRQFHUW ZLWK RU IRU
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   ZKLFKKDVEHHQRPLWWHGIURPWKH5HJLVWUDWLRQ6WDWHPHQW
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            &   $ZDUGLQJ FRPSHQVDWRU\ GDPDJHV DJDLQVW 'HIHQGDQWV LQGLYLGXDOO\
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   DQGSRVWMXGJPHQWLQWHUHVWDWWKHPD[LPXPUDWHDOORZDEOHE\ODZDULVLQJIURPWKH
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